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                     Exhibit 11
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             The OMB website that provides the underlying data used by OpenOMB is offline. There will be no new
                            apportionments posted on OpenOMB until that site is back online.




    OpenOMB                                                                       Search       Explore Agencies        FAQ   About




    Tracking apportionments just
    got easier.
     Apportionments are legally binding plans issued by the White House Office of Management and Budget that set
     the pace at which federal agencies may spend appropriated funds. OpenOMB's database makes
     apportionments easy to find and track.



                                                 Search apportionments


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                      Or try using the advanced search.




    Why are apportionments important?
    Apportionments are how the president, acting through OMB, implements Congress's spending laws.
    Apportionments set the pace at which agencies may spend funds by specifying what money an agency may
    spend, when, and subject to what conditions. This is the second step in the life cycle of federal funds: Congress
    appropriates, OMB apportions, and agencies spend. Administrations of both parties have abused this authority
    to halt or cut off funding for enacted programs, making oversight of apportionments vital.

    More apportionment FAQs




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    Apportionments are legally binding plans that show:

           What money an agency can spend and when.

           Any conditions OMB has put on agency access to funds.

           Whether OMB is delaying access to, or withholding, funds.




                                  0 New apportionments approved in the last 7 days
                                 3,521 Total apportionments approved for FY2025
                                  1,854 Total accounts tracked by OpenOMB



                        Recently Approved Apportionments

    DEPARTMENT OF DEFENSE (MILITARY PROGRAMS)

    Missile Procurement, Army
                                                                                                   Approved March 21, 2025


    DEPARTMENT OF DEFENSE (MILITARY PROGRAMS)

    Missile Procurement, Army
                                                                                                   Approved March 21, 2025


    DEPARTMENT OF DEFENSE (MILITARY PROGRAMS)

    Research, Development, Test and Evaluation, Defense-wide
                                                                                                   Approved March 21, 2025


    DEPARTMENT OF DEFENSE (MILITARY PROGRAMS)
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    Research, Development, Test and Evaluation, Army
                                                                                                  Approved March 21, 2025


    DEPARTMENT OF DEFENSE (MILITARY PROGRAMS)

    Defense Production Act Purchases
                                                                                                  Approved March 21, 2025


    DEPARTMENT OF DEFENSE (MILITARY PROGRAMS)

    Missile Procurement, Air Force
                                                                                                  Approved March 21, 2025


    DEPARTMENT OF DEFENSE (MILITARY PROGRAMS)

    Research, Development, Test and Evaluation, Air Force
                                                                                                  Approved March 21, 2025


    DEPARTMENT OF DEFENSE (MILITARY PROGRAMS)

    Aircraft Procurement, Air Force
                                                                                                  Approved March 21, 2025


    DEPARTMENT OF DEFENSE (MILITARY PROGRAMS)

    Procurement of Ammunition, Army
                                                                                                  Approved March 21, 2025


    DEPARTMENT OF DEFENSE (MILITARY PROGRAMS)

    Other Procurement, Army
                                                                                                  Approved March 21, 2025




                                         Explore apportionments by agency




                         Learn More About Apportionments
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